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       In The United States Court of Federal Claims
                                            No. 05-411C

                                    (Filed: September 17, 2010)
                                           __________

PRESIDIO ADVISORS, LLC, NORVEST LTD.

                       Plaintiff,

       v.

THE UNITED STATES,

                       Defendant.

                                             _________

                                              ORDER
                                             _________

       On September 10, 2010, the parties filed a joint motion to enlarge the period for fact
discovery by six months. This is the third request the court has received for such an extension.
The court will enlarge fact discovery by three months, with fact discovery ending on or before
January 4, 2011. All depositions shall occur during this time period and both parties shall
cooperate fully in this regard. The motion is hereby GRANTED in part, and DENIED in part,
and the revised schedule for discovery is as follows:

       1.       On or before January 4, 2011, fact discovery shall be completed;

       2.       On or before March 2, 2011, expert witness reports shall be served,
                pursuant to RCF 26(a)(2);

       3.       On or before April 5, 2011, expert witness discovery shall be
                completed; and

       4.       On or before April 18, 2011, the parties shall file a joint status report
                indicating how this case should proceed, with a proposed scheduled,
                if appropriate.

       No further enlargements of these deadlines will be granted.

       IT IS SO ORDERED.




                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
